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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 ROBERTO BANDA,                                    §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §    CIVIL ACTION NO. 3:17-CV-1787-B
                                                   §
 OWENS CORNING CORPORATION,                        §
                                                   §
      Defendant,                                   §

                          MEMORANDUM OPINION AND ORDER

         Plaintiff, Roberto Banda, brings suit alleging that he was terminated by Defendant because

of his race/national origin, disability, and in retaliation. Although Banda has no direct evidence of

discrimination, Banda argues that relevant case law allows the Court to infer the existence of

discrimination because Defendant’s proffered reason for firing him—two safety violations occurring

within thirty minutes of one another—was false, and other similarly situated employees outside his

protected class were not fired for similar violations. Defendant in turn filed a Motion for Summary

Judgement (Doc. 22) arguing that: (1) Banda’s race/national origin claim fails because he cannot

establish a prima facie case, and even if he could, Defendant had a legitimate nondiscriminatory

reason for firing him that is not pretext; and (2) Banda’s disability and retaliation claims fail because

Banda failed to timely exhaust his administrative remedies. Additionally, after the close of briefing,

Banda filed a Motion to Strike (Doc. 36) Defendant’s Reply Appendix arguing that Defendant may

not file it without leave of court.

         Having been fully briefed on both Motions, and for the reasons discussed below, the Court

(1) DENIES Banda’s Motion to Strike because the evidence rebuts Banda’s Response to the Motion

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for Summary Judgment, bolsters arguments made in Defendant’s initial Motion, and does not raise

new issues, legal arguments, or theories; (2) GRANTS Defendant’s Motion for Summary Judgment

on Banda’s race/national origin claim because even assuming Banda raised a prima facie case, Banda

failed to show that Defendant’s legitimate, nondiscriminatory reason for termination was pretext; and

(3) GRANTS Defendant’s Motion for Summary Judgment on Banda’s disability and retaliation

claims as time-barred because he failed to exhaust his administrative remedies and timely amend his

charge with the EEOC Therefore, all of Banda’s claims are DISMISSED.

                                                   I.

                                          BACKGROUND1

        This employment-discrimination case arises from Defendant Owens Corning Insulating

Systems, LLC’s,2 termination of Roberto Banda. The parties’ employment relationship began on June

29, 1994, when Banda was hired to work at Defendant’s Waxahachie facility (the “Plant”) that

manufactures fiberglass products. Doc. 33-1, Pl.’s Resp. to MSJ, 8. At the time of his termination,

Banda was employed as a Cold End Group Leader where he was in charge of assigning employees to

their various work stations in the Plant, and ensuring that employees under his leadership were

producing consistent work product while following the required quality standards and safety

procedures. Id. at 8, 13. Banda was promoted to this position around January 2015. Id. at 8.

        Defendant manufacturers various types of fiberglass products. Doc. 23, Def.’s MSJ, 2. The


        1
           The Court draws its factual history from the summary-judgment record. The Court will note when
facts are in dispute.
        2
           Banda originally named Defendant as Owens Corning Corporation, Doc. 1, Compl.; however, in
his First Amended Complaint, Plaintiff corrected Defendant’s name to Owens Corning Insulating Systems,
LLC. Doc. 15, Am. Compl., 1 n.1.

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manufacturing process utilizes potentially dangerous machinery in melting glass, infusing it with

binding and color, treating the product with heat and cold, cutting it to the proper size, and finally

packaging and storing it for shipment to customers. Id. The manufacturing process is largely

automated; however, manual labor is required for certain aspects of the process, including when

machinery breaks down or experiences an upset condition and requires repair or adjustments.

Doc. 33-1, Pl.’s Resp. to MSJ, 9. Due to the potential dangerousness of the manufacturing process,

Defendant implements various safety procedures—of importance to this suit is Defendant’s “Lock-

Tag-Try” policy (“LTT Policy” or the “Policy”). Doc. 23, Def.’s MSJ, 2. The Policy helps eliminate

employee contact with energized machinery by requiring each employee to place his or her own lock

on the appropriate lockout place on the machine each time he or she enters a protected area to

repair or maintain the machinery. Id. at 3. Defendant utilizes the “one man, one lock” concept

because machinery is often repaired by multiple employees at a time, thus, the Policy ensures that

no employee relies on another to lockout a machine only to accidently have the machine energized

while being repaired. Id.

       Banda was terminated from his position on May 21, 2015. Doc. 33-1, Pl.’s Resp. to MSJ, 13.

Defendant asserts that Banda was terminated because of his failure to follow the company’s LTT

Policy on two separate occasions occurring on May 19, 2015, within thirty minutes of one another.

Doc. 23, Def.’s MSJ, 4–5. The alleged violations occurred while Banda was attempting to fix a bisect

saw on the V3 production line that was not properly working that day. Id. at 4. A bisect saw is a large

band saw that is used to cut the fiberglass and has a “lockout matrix” that allows employees to place

their lock on an electrical switch before repairing or performing maintenance on the saw. Id. at 3–4.

Banda admits that he went into the bisect saw protected area twice to repair it and did not apply his

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own lock either time. Id. at 4 (citing Doc. 24, Def.’s App., 129 (Pl.’s Dep. at 37:2–8)). Banda also

admits that in between the first and second violation, Faustino De La Rosa—a machine operator

working that same bisect saw on the V3 line that day—warned him that he could not be working

on the saw without placing his lock on the machine. Id. (citing Doc. 24, Def.’s App., 130 (Pl.’s Dep.

at 47:14–23)); Doc. 33-1, Pl.’s Resp. to MSJ, 10. After investigating the incident, Defendant

determined that Banda’s violation was a Level IV intentional violation of its Safety Violation

Standards, and terminated Banda. Doc. 23, Def.’s MSJ, 3–5.

        Thereafter, on July 23, 2015, Banda filed an employment discrimination charge with the

Dallas Office of the Equal Employment Opportunity Commission (EEOC) alleging race/national

origin discrimination. Doc. 24, Def.’s App., 59 (EEOC Charge of Discrimination). Over a year later,

Banda amended his charge with the EEOC on August 3, 2016, alleging disability discrimination and

retaliation. Id. at 50 (Am. EEOC Charge of Discrimination). Banda was mailed a Dismissal and

Notice of Rights on April 13, 2017, advising him of his right to file suit within 90 days of the date

of receipt of the Notice. Id. at 44. Banda then filed suit on July 7, 2017, alleging that in firing him,

Defendant discriminated against him based on his (1) race/national origin (Hispanic) in violation

of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2(a); (2) disability (diabetes mellitus,

renal failure)in violation of the Americans with Disabilities Act Amendments Act of 2008 (ADA),

42 U.S.C. §§ 12101 et seq.; and (3) as retaliation in violation of both Acts. Doc. 15, Am. Compl.,

¶¶ 25–27. Defendant filed this Motion for Summary Judgment (Doc. 22) on September 7, 2018.

After the close of briefing on this Motion, Banda filed a Motion to Strike (Doc. 36) seeking to strike

from the summary-judgment record Defendant’s Reply Appendix (Doc. 35). The Court has been

fully briefed on both Motions, thus these Motions are ripe for this Court’s review.

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                                                  II.

                                       LEGAL STANDARD

       Summary judgment is appropriate where the pleadings and record evidence show no genuine

issue of material fact exists and that the movant is entitled to summary judgment as a matter of law.

Fed R. Civ. P. 56(a); Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994). Only disputes

about material facts preclude a grant of summary judgment, and “the substantive law will identify

which facts are material.” Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). “A fact is material

only if its resolution would affect the outcome of the action, and an issue is genuine only if the

evidence is sufficient for a reasonable jury to return a verdict for the nonmovant.” Johnson v.

Nationstar Mortgage, LLC, 2017 WL 1196214, at *2 (S.D. Tex. Mar. 31, 2017) (quoting Wiley v.

State Farm Fire and Cas. Co., 585 F.3d 206, 210 (5th Cir. 2009) (internal quotations and alterations

omitted).

       The movant bears the burden of proving no genuine issue of material fact exists. Latimer v.

Smithkline & French Labs., 919 F.2d 301, 303 (5th Cir. 1990). Where the nonmovant bears the

burden of proof at trial, the movant need not support its motion with evidence negating the

nonmovant’s case. Instead, the movant may satisfy its burden by pointing to the absence of evidence

to support an essential element of the nonmovant’s case. Id.; Little, 37 F.3d at 1075.

       Once the movant has met its burden, the nonmovant must show that summary judgment is

not appropriate. Little, 37 F.3d at 1075 (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)).

“This burden is not satisfied with ‘some metaphysical doubt as to material facts,’ . . . by ‘conclusory

allegations,’. . . by ‘unsubstantiated assertions,’ or by only a ‘scintilla’ of evidence.” Id. (quoting

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)). Also, a nonmovant may

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not simply rely on the Court to sift through the summary-judgment record to find a fact issue, but

must instead point to specific evidence in the record and articulate precisely how that evidence

supports the challenged claim. Ragas v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998).

The nonmovant must show that the evidence is sufficient such that a reasonable jury could return

a verdict for the nonmovant. Muñoz v. Orr, 200 F.3d 291, 302 (5th Cir. 2000). The court will not

make credibility determinations, weigh the evidence, or draw inferences, but instead confine its

inquiry to facts material under the governing legal standard. Anderson, 477 U.S. at 255. In

determining whether a genuine issue exists for trial, the court will view all of the evidence in the light

most favorable to the nonmovant. Matsushita, 475 U.S. at 587.

                                                   III.

                                   EVIDENTIARY OBJECTIONS

        In conjunction with the briefing on the Motion for Summary Judgment, Banda and

Defendant make several objections to each side’s summary-judgment evidence. Additionally, after

the close of briefing, Banda filed a Motion to Strike Defendant’s Reply Appendix. Doc. 36. Because

the admissibility of Defendant’s Reply Appendix is relevant in determining the Court’s ruling on the

parties’ respective objections, the Court will first address Banda’s Motion to Strike and then each

party’s objections.

A.      Banda’s Motion to Strike

        The Court first addresses Banda’s Motion to Strike. Banda argues that the Court should

strike and not consider Defendant’s Reply Appendix because under relevant case law and the local

rules for the Northern District of Texas, a reply brief is limited to rebutting the nonmovant’s response

and may not introduce new evidence without leave of court. Doc. 36, Pl.’s Mot. to Strike, 3.

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Defendant responds and asks that the Court exercise its discretion and consider the evidence in

support of its Reply brief because it is directed at new allegations made by Banda in his Response to

its Motion for Summary Judgment. Doc. 37, Def.’s Resp. to Mot. to Strike, 2.

        In most circumstances, the Northern District of Texas local rules on summary judgment do

not permit a party to submit additional evidence with a reply brief as of right. Dethrow v. Parkland

Health Hosp. Sys., 204 F.R.D. 102, 103 (N.D. Tex. 2001); see N.D. Tex. Civ. R. 56.7. For that

reason, a summary judgment movant “may not file a reply brief appendix without first obtaining leave

of court.” Dethrow, 204 F.R.D. at 104. And leave of court is available only under limited

circumstances “[b]ecause the purpose of a reply brief is to rebut the nonmovant’s response, not to

introduce new evidence.” Id. The Court’s charge, then, is to determine whether this is one of those

limited circumstances. See id.

        Defendant asserts that its Reply Appendix fits within that limited circumstance allowing the

Court to consider it because the evidence rebuts Banda’s Response in which he mischaracterizes his

prior deposition testimony. Specifically, Defendant claims that Banda’s Response and his Declaration

contradict his prior deposition testimony that he was properly trained on the LTT Policy protocol.

Doc. 37, Def.’s Resp. to Mot. to Strike, 2–3. Thus, to rebut Banda’s assertion of lack of training,

Defendant seeks to include excerpts from Banda’s deposition, a Declaration from Greg Bowling,

Defendant’s Plant Manager, as well as Banda’s certification and training records. See generally Doc.

35, Def.’s Reply App. Also, the Reply Appendix provides portions of Banda’s prior deposition

testimony that contradicts Banda’s Declaration where he states that “Munguia and De La Rosa had

locked the energy source to the ‘Bisect Saw’ with their own locks.” Doc. 37, Def.’s Resp. to Mot. to

Strike, 3. Banda, on the other hand, replies that the issue is old hat; Defendant made a strategic error

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in not including the portions of the deposition transcript and training logs earlier. See Doc. 39, Pl.’s

Reply Mot. to Strike, 1–4. And that, he argues, does not merit leave. The Court ultimately agrees

with Defendant and chooses to exercise its discretion in considering the Reply Appendix.

        Despite Defendant’s procedural misstep in not seeking leave, the Court chooses to exercise

its discretion in considering Defendant’s Reply Appendix as summary-judgment evidence because

the evidence rebuts Banda’s Response to the Motion for Summary Judgment, bolsters arguments

made in Defendant’s initial Motion, and does not raise new issues, legal arguments, or theories. See

AAR, Inc. v. Nunez, 408 F. App’x 828, 830 (5th Cir. 2011) (“Generally, and for obvious reasons, a

reply brief is limited to addressing matters presented by appellant’s opening brief and by appellee’s

response brief, and is not the appropriate vehicle for presenting new arguments or legal theories to

the court.”) (internal quotations omitted). The Court does so cautiously and recognizes the

importance of parties abiding by this District’s local rules; however, based on the parties briefing on

the Motion to Strike, the Court joins others in this District in finding good cause for considering this

evidence, even without leave of court having been sought. See, e.g., Lynch v. Union Pac. R.R. Co.,

2015 WL 6807716, at *1 (N.D. Tex. Nov. 6, 2015) (denying plaintiff’s motion to strike and

considering the defendant’s reply evidence without it seeking leave “[b]ecause Defendant’s reply and

related evidence are responsive to arguments raised and evidence relied on by Plaintiff in his

summary judgment response,” and was “not a situation in which a new issue was raised for the first

time in a reply that would require the court to give him an opportunity to respond to Defendant’s

reply . . . or that would require the court to strike the reply.”); Lawson v. Parker Hannifin Corp., 2014

WL 1158880, at *5–6 (N.D. Tex. Mar. 20, 2014) (recognizing that plaintiff failed to properly move

for leave of court to include a reply appendix, but nevertheless considering it “in the interest of giving

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each party a full and fair opportunity to address the issue before the Court”); Murray v. TXU Corp.,

2005 WL 1313412, at *4 (N.D. Tex. May 27, 2005) (denying plaintiff’s motion to strike defendants’

reply brief and supplemental appendix, and denying motion for leave to file a surreply because the

arguments contained within did not raise new arguments or legal theories, but instead rebutted

plaintiff’s response or bolstered defendants’ arguments contained in its initial motion).

        The Court notes that this is an infrequent result; however, for purposes of judicial economy

and to allow the Court to make an informed ruling with all relevant evidence before it, the Court

exercises its discretion and DENIES Banda’s Motion to Strike Defendant’s Reply Appendix.

B.      Banda’s Objections to Evidence

        Next, the Court addresses Banda’s objections to Defendant’s summary-judgment evidence.

Banda first objects to the use of the Declaration of Kristi Fox—the Environmental, Health, and

Safety Leader at the Plant who was involved in the investigation of Banda’s violations and ultimate

termination—arguing that her Declaration contradicts her prior deposition testimony given two days

earlier, and thus, is a “sham” to skirt summary judgment. Doc. 33-1, Pl.’s Resp. to MSJ, 14–18; see

also Doc. 24, Def.’s App., 1–7 (Fox’s Declaration).

        It is well-settled that the Fifth Circuit “‘does not allow a party to defeat a motion for summary

judgment using an affidavit that impeaches, without explanation, sworn testimony.’” Hudson v. Cleco

Corp., 539 F. App’x 615, 620 (5th Cir. 2013) (quoting S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489,

495 (5th Cir. 1996)); see also Albertson v. T.J. Stevenson & Co., 749 F.2d 223, 233 n.9 (5th Cir. 1984)

(“The nonmoving party cannot defeat a summary judgment motion by attempting to create a

disputed material fact through the introduction of an affidavit that directly conflicts with his prior

deposition testimony.”).

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        Banda first points out several sections from Fox’s deposition transcript where she expresses

a lack of knowledge or recollection over certain facts surrounding Banda’s violations and

termination. See Doc. 33-1, Pl.’s Resp. to MSJ, 14–16 (e.g., not being sure when the bisect saw is used

in manufacturing, when and who first reported Banda’s violations to her, or whether the bisect saw

was already locked out prior to Banda arriving to the area). Banda however does not explicitly state

what paragraphs of Fox’s Declaration those deposition statements allegedly contradict. Regardless,

the Court has compared Fox’s Declaration with her deposition testimony and finds that her

statements are not clearly inconsistent, thus the sham doctrine is inapplicable. Specifically, the Court

concludes that although portions of her deposition testimony are unclear and incomplete, there is

no clear contradiction, especially in light of Banda’s Lockout Violation Investigation Report, Doc.

33-2, Pl.’s App., 119–21, and Banda’s own deposition testimony, both of which corroborate Fox’s

Declaration. Instead, Fox’s Declaration supplements and clarifies, rather than contradicts, her prior

deposition testimony, therefore, the Court OVERRULES the objection on these grounds. See S.W.S.

Erectors, 72 F.3d at 496 (“When an affidavit merely supplements rather than contradicts prior

deposition testimony, the court may consider the affidavit when evaluating genuine issues in a

motion for summary judgment.”).

        The remainder of Banda’s objections to Fox’s Declaration argue that her declaration

statements are false—not that they contradict her prior sworn testimony. See Doc. 33-1, Pl.’s Resp.

to MSJ, 17–18. But, the Court’s concern in evaluating whether Fox’s Declaration is a sham revolves

around whether she has contradicted her prior testimony. Objections to the truthfulness of

statements in Fox’s Declaration—although relevant in determining whether a genuine issue of




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material fact exists—do not show that the Declaration is a sham, thus, the Court OVERRULES

Banda’s objection on this basis as well.

        Second, Banda objects to Defendant’s submission of the Opinion and Award of the

Arbitrator and the Arbitrator’s Declaration regarding earlier arbitration efforts with Banda. Doc. 33-

1, Pl.’s Resp. to MSJ, 18; see also Doc. 24, Def.’s App., 18–32. The Court OVERRULES Banda’s

objection as moot because the evidence in question is not considered in rendering this decision.

C.      Defendant’s Objections to Evidence

        First, Defendant objects to the statements in Paragraph 7 and 28 of Banda’s Declaration.

Doc. 34, Def.’s Reply to MSJ, 9–10. The Court OVERRULES Defendant’s objection as moot

because the evidence in question is not considered in rendering this decision.

        Second, Defendant objects to the statement in Paragraph 153 of Banda’s Declaration where

he asserts that the two machine operators present at the time of his violations—Jesse Munguia and

Faustino De La Rosa—had locked the energy source to the bisect saw with their own locks. Id.; Doc.

33-2, Pl.’s App., 10 (Paragraph 15). Defendant argues that this statement directly contradicts

Banda’s prior deposition testimony that he had seen two locks on the bisect saw earlier in the

morning before his violations occurred, and that at the exact time that he entered the restricted area

he assumed the locks were still there, but did not know for sure. Doc. 35, Def.’s Reply App., 7–8. The



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           The Court notes that in fact Defendant states in its Reply that it is objecting to Paragraph 9;
however, a review of Banda’s Declaration shows that Paragraph 9 does not refer to the statement Defendant
is objecting to, Paragraph 15 does. Compare Doc. 33-2, Pl.’s App., 9 (Paragraph 9), with id. at 10 (Paragraph
15). Also, in Defendant’s Response to Banda’s Motion to Strike, Defendant states that it is objecting to
Paragraph 15 of Banda’s Declaration. See Doc. 37, Def.’s Resp. to Mot. to Strike, 3. Because it is clear from
the record what statement Defendant is objecting to and how it conflicts with Banda’s prior testimony, the
Court sees no reason to split hairs on what amounts only to a typographical error, and thus treats Defendant’s
objection to Paragraph 9 as an objection to Paragraph 15.

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Court agrees with Defendant and concludes that Paragraph 15 of Banda’s Declaration contradicts

his prior deposition testimony. Defendants’s objection on that point is therefore SUSTAINED. See

Hudson, 539 F. App’x at 620.

        Lastly, Defendant objects to the entirety of Joe Camarillo’s Declaration—a former employee

of Defendant who worked from roughly 1967 to 2014 at the Plant and disputes that the LTT Policy

applied to the bisect saw in question—because Banda did not disclose Camarillo as a potential

witness in compliance with Rule 26. Doc. 34, Def.’s Reply to MSJ, 10; Doc. 33-2, Pl.’s App., 123–24.

Defendant argues that the Declaration should be excluded under rule 37(c)(1), which provides that

“[i]f a party fails to provide information or identify a witness as required by Rule 26(a) or (e), the

party is not allowed to use that information or witness to supply evidence on a motion, at a hearing,

or at a trial, unless the failure was substantially justified or is harmless.” See Fed. R. Civ. P. 37(c)(1).

Also, Defendant argues that because Camarillo ceased employment at the Plant prior to Banda’s

violations, he lacks personal knowledge of the safety procedures in place at the relevant time.

        Banda responds and argues that Camarillo’s Declaration impeached Fox’s Declaration, or in

the alternative was rebuttal evidence, and thus was not required to be disclosed under Rule 26(a).

Doc. 39, Pl.’s Reply to Mot. to Strike, 6–7 (citing Fed. R. Civ. P. 26(a)(1)(A)(i)). However, in

contradiction to that argument, Banda served on Defendant his Third Supplemental Disclosures

pursuant to Rule 26(a) on November 6, 2018—one week after Defendant pointed out in its Reply

regarding the Motion for Summary Judgment that Banda failed to timely disclose Camarillo’s identity

and contact information. Doc. 38, Def.’s Mot. to Strike Resp. App., 1–4. Regardless of whether the

Court considers Camarillo a witness required to be disclosed under Rule 26 or an impeachment or

rebuttal witness, Banda does not show how in fact the Declaration of Camarillo—a former employee,

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not employed at the relevant time—is impeachment evidence, nor does he give an explanation for

his failure to timely disclose under Rule 26 or why that failure is substantially justified or harmless.

See Primrose Operating Co. v. Nat’l Am. Ins. Co., 382 F.3d 546, 563–64 (5th Cir. 2004). Therefore,

the Court SUSTAINS Defendant’s objection to Camarillo’s Declaration and strikes it from the

summary-judgment record.

                                                     IV.

                                                ANALYSIS

        With all the evidentiary issues determined, the Court now turns to the merits of this case.

Defendant moves for summary judgment on each of Banda’s claims, which include (1) race/national

origin discrimination in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e–2

et seq.; (2) disability discrimination in violation of the ADA, 42 U.S.C. §§ 12101 et seq.; and (3)

discriminatory retaliation in violation of both Acts. Banda opposes summary judgment as to each

claim. The Court analyzes each of the causes of action below.

A.      Even Assuming that Banda met his Prima Facie Case of Race/National Origin Discrimination,
        Banda has Failed to Show that Defendant’s Legitimate, Nondiscriminatory Reason for Termination
        was Pretext, thus, this Claim is DISMISSED.

        Banda claims that in firing him, Defendant violated Title VII of the Civil Rights Act by

discriminating against him on the basis of his race/national origin (Hispanic/Mexican-American).4

Doc. 15, Am. Compl., ¶¶ 26–27; see 42 U.S.C. § 2000e-2(a). Banda did not produce direct evidence

of discrimination, thus, his claim is subject to the burden-shifting framework of McDonnell Douglas

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           Defendant does not argue that Banda’s Title VII race discrimination claim is time-barred even
though Banda’s Original Charge only stated discrimination based on national origin. See Doc. 24, App., 59.
However, the Court finds that Banda’s race discrimination claim is not time-barred because in this case the
facts supporting his race discrimination claim and his national origin discrimination claim are essentially the
same. See Manning v. Chevron Chemical Co, LLC, 332 F.3d 874, 879 (5th Cir. 2003).

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Corp. v. Green, 411 U.S. 792 (1973). See McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir.

2007) (per curiam); see also Doc. 33-1, Pl.’s Resp. to MSJ. 20–21 (conceding that this is a pretext

case but arguing that material facts are in dispute). Under McDonnell Douglas, a plaintiff must first

make a prima facie case of discrimination. McCoy, 492 F.3d at 556. The burden then shifts to the

defendant to articulate a legitimate, nondiscriminatory reason for its actions. Id. at 557. If the

defendant meets its burden, the burden shifts back to the plaintiff to demonstrate the defendant’s

proffered reason is pretexutal. Id. The Court finds that even assuming that Banda met his prima facie

case of discrimination, Defendant has articulated a legitimate, nondiscriminatory reason for firing

Banda, which Banda has failed to demonstrate is pretext. Therefore, the Court GRANTS

Defendant’s Motion for Summary Judgment on Banda’s race/national origin discrimination claim.

       1.      Banda’s Prima Facie Case of Race/National Origin Discrimination

       To establish his prima facie case, Banda must show that “(1) he is a member of a protected

class, (2) he was qualified for the position at issue, (3) he was the subject of an adverse employment

action, and (4) he was treated less favorably because of his membership in that protected class than

were other similarly situated employees who were not members of the protected class, under nearly

identical circumstances.” Lee v. Kan. City S. Ry. Co., 574 F.3d 253, 259 (5th Cir. 2009). The first

three elements are not in dispute: (1) Banda is Hispanic/Mexican-American; (2) he was qualified

for his position as a Cold End Group Leader; and (3) he suffered an adverse employment action by

being fired. Doc. 23, Def.’s MSJ, 18. The Court’s focus is thus on the fourth element of Banda’s

prima facie case—whether Banda was treated less favorably than other similarly situated employees

outside his protected group.

       To satisfy the fourth element, a plaintiff may proffer fellow employees as “comparators” and

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show that “under nearly identical circumstances” the comparators were treated more favorably. Lee,

574 F.3d at 260. But, the Fifth Circuit has held that “[e]mployees with different supervisors, who

work for different divisions of a company or who were the subject of adverse employment actions too

remote in time from that taken against the plaintiff generally will not be deemed similarly situated.

Likewise, employees who have different work responsibilities or who are subjected to adverse

employment action for dissimilar violations are not similarly situated.” Id. at 259–60 (collecting

cases). Ultimately, “[i]f the difference between the plaintiff’s conduct and that of those alleged to be

similarly situated accounts for the difference in treatment received from the employer, the employees

are not similarly situated for the purposes of an employment discrimination analysis.” Id. at 260

(internal quotations omitted).

        In interrogatory responses, as well as briefing regarding this Motion, Banda identifies several

comparator co-workers who he says were non-Hispanic and treated more favorably. Doc. 33-1, Pl.’s

Resp. to MSJ, 25–26. Defendant argues that none of the comparators that Banda proffers were

similarly situated because none of them were group leaders, violated the LTT Policy twice within a

thirty-minute period, or were warned about the LTT Policy in between their two violations. See Doc.

23, Def.’s MSJ, 11–16; Doc. 34, Def.’s Reply, 6.

        On the summary-judgment record before it, the Court hesitates to conclude that Banda was

treated less favorably than similarly situated employees. Although there is some basis in the record

for finding that Banda received different treatment from those outside his protected class, such

evidence does not clearly establish that these other employees were similarly situated. See Doc. 33-2,

Pl.’s App., 94–112 (Comparators Write-ups). Moreover, the difference between the circumstances

surrounding Banda’s termination—a long-time employee tasked with ensuring that lower level

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employees followed safety procedures and who violated the LTT Policy twice within thirty

minutes—and conduct of those alleged to be similarly situated may very well account for the

difference in treatment received from Defendant. See Lee, 574 F.3d at 260. However, rather than

decide whether the conflicting evidence before it is sufficient to raise an issue of fact as to the final

element of Banda’s prima facie case, and because the Court decides this claim on the basis of pretext,

the Court will assume without deciding that this element of Banda’s prima facie case has been met.

See Matsushita, 475 U.S. at 587 (holding that in the summary judgment context, the Court must view

all evidence in the light most favorable to the nonmovant).

        2.      Defendant’s Burden of Showing a Legitimate, Nondiscriminatory Reason for Banda’s
                Termination

        Because the Court assumes that Banda has made his prima facie case, a presumption of

discrimination arises, and the burden shifts to Defendant to proffer a legitimate, nondiscriminatory

reason for his termination. See McCoy, 492 F.3d at 557. “The employer’s burden is only one of

production, not persuasion, and involves no credibility assessment.” Id.

        Defendant states that Banda was terminated after its investigation determined that Banda’s

actions on May 19, 2015, “fit squarely within a Level IV violation of the Safety Violations Standard

and for that reason alone he was terminated.” Doc. 23, Def.’s MSJ, 19. Banda counters that

Defendant’s proffered reason is not neutral nor nondiscriminatory because other employees violated

the LTT Policy and were not terminated. Doc. 33-1, Pl.’s Resp. to MSJ, 27. Banda’s arguments

however are misplaced. The Court already assumes that other similarly situated employees were

treated more favorably—e.g., other employees violated the LTT policy but were not terminated.

Thus, the Court’s inquiry is not whether other employees violated the LTT policy and were not



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terminated, but instead whether Banda’s actions gave Defendant a legitimate, nondiscriminatory

reason to terminate Banda. The Court finds that they did.

        As previously stated, at the time of his firing, Banda was a Cold End Group Leader. In this

role, Banda was in charge of assigning employees to their various work stations in the Plant, and

ensuring that the employees under his leadership were producing consistent work product while

following the required quality standards and safety procedures. Banda was fired after Defendant

determined that he violated the LTT Policy twice in thirty minutes, and more importantly,

Defendant determined that in between the first and second violation, Banda was told by a co-worker

that he needed to follow the Policy.

        In assessing employees’ safety violations, Defendant utilizes a four-level progressive discipline

approach that assesses punishment depending on the seriousness of the violation. However,

“[a]lthough this Standard recommends a progressive approach,” the Standard warns that “corrective

action may jump to any level, including termination for the first offense.” Doc. 24, Def.’s App., 12.

Of importance to this case, is that the Standard states that a Level IV violation involves “the

intentional violation of a safety requirement that places the employee or others in danger.” Id at 13.

An intentional violation occurs when there is “objective evidence that the employee intended to

violate the safety requirement.” Id. The Standard also provides an example of a Level IV violation

of the LTT Policy: “An employee is reminded to lock out equipment by a co-worker and responds

that it will take too long.” Id. at 16.

        After its investigation, Defendant found that Banda’s actions constituted an intentional Level

IV violation and terminated him. Specifically, the investigation found that Banda entered the fenced

area of the bisect saw to help Faustino De La Rosa—a Machine Operator working under Banda’s

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direction on the same line—pull insulation to clear an upset condition. Doc. 33-2, Pl.’s App., 119.

While in the fenced area, De La Rosa told Banda that he could not be in there without locking out.

Id. at 119–20, see also Doc. 24, Def.’s App., 130 (Pl.’s Deposition at 47:14–23). In the investigation,

Banda did not contest whether he had to follow the LTT Policy but instead stated that “he was just

reacting to the upset and it was a ‘just in the moment thing.’” Doc. 33-2, Pl.’s App., 119. The

investigation also found that fifteen to twenty minutes later, Banda entered the same fenced area of

the bisect saw to assist with another upset condition and did not lock out. Id. Lastly, the Court also

notes that as a part of the investigation, Defendant interviewed De La Rosa, who expressed concern

that if leadership (Banda) was not following proper safety procedures, “how can he expect us to

follow it[,] [t]hey are not above the safety rules.” Id. at 120.

        Although during Defendant’s internal investigation Banda never contested whether the LTT

Policy applied to the bisect saw at issue, Banda now questions the validity of the LTT policy, and

argues that historically, only machine operators who entered the fenced area were required to lock

out the bisect saw, not Cold End Group Leaders like himself. Doc. 33-1, Pl.’s Resp. to MSJ, 21 (citing

Doc. 33-2, Pl.’s App., 14 ¶ 32). However, the summary-judgment record is clear on this point. The

LTT Policy required that employees place his or her own lock on energized equipment before

entering restricted areas. See Doc. 24, Def.’s App., 8–10. And as a part of Banda being hired as a

Cold End Group Leader, he was aware of and trained regarding Defendant’s safety procedures prior

to his violations, including following the LTT Policy with regard to the bisect saw on the V3 line. See

Doc. 35, Def.’s Reply App., 27 ¶ 7 (Declaration of Plant Manager, Greg Bowling, stating that as a

part of Banda’s certification for Cold End Group Leader he was trained on all three lines (V1, V2,

and V3), including Defendant’s LTT Policy); see, e.g., id. at 79 (2/25/15 Trainer Report on

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V1/Recon/V3 lines). Moreover, the validity of the Policy is reinforced by the fact that Banda was

warned by De La Rosa between the two violations that he needed to lock out if he was going to be

in the restricted bisect saw area and after the two violations his supervisor reiterated the same point.

See Doc. 24, Def.’s App., 130 (Pl.’s Dep. at 47:14–23); see also Doc. 33-2, Pl.’s App., 120–21.

        The Court recognizes that the discipline chosen by the Defendant for Banda—a 21-year

employee with no prior violations—showed no leniency; however, it is not the Court’s role to

substitute its own judgment on what the proper punishment should have been given the absence of

discrimination. Instead, the Court is tasked with determining whether Defendant had a legitimate,

nondiscriminatory reason for the termination. Based on the summary-judgment record before the

Court, it finds that Banda’s actions on May 19, 2015, constituted a legitimate, nondiscriminatory

reason for the termination.

        3.      Banda’s Burden of Showing Pretext

        Lastly, because the Court finds that Defendant showed a legitimate, nondiscriminatory reason

for firing Banda—the two LTT Policy violations—the burden now shifts to Banda to demonstrate

that Defendant’s proffered reasons for its employment decision is pretext for discrimination. See Price

v. Fed. Exp. Corp., 283 F.3d 715, 720 (5th Cir. 2002). The plaintiff makes this showing by providing

evidence that discrimination lay at the heart of the employer’s decision. Id.

        Here, instead of showing that race/national origin discrimination was at the heart of

Defendant’s decision, Banda argues that if a plaintiff shows that an employer’s asserted reasons for

taking the adverse actions are false, then this showing, coupled with the plaintiff’s prima facie case,

may be sufficient for a factfinder to determine that the employer acted discriminatorily. Doc. 33-1.

Pl.’s Resp. to MSJ, 28 (citing Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 143 (2000)).

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But, as discussed above, the Court finds that Defendant had a legitimate, nondiscriminatory reason

for firing Banda.

        Moreover, Banda’s contention that his actions were not safety violations because only

machine operators who entered the fenced area were required to lock out the bisect saw, at best

creates “a weak issue of fact as to whether [Defendant’s] reason was untrue and there [is] abundant

and uncontroverted independent evidence that no discrimination ha[s] occurred.” See Reeves, 530

U.S. at 148 (recognizing that “there will be instances where, although the plaintiff has established

a prima facie case and set forth sufficient evidence to reject the defendant’s explanation, no rational

factfinder could conclude that the action was discriminatory.”). While it is true that “[a] court may

infer pretext where a defendant has provided inconsistent or conflicting explanations for its

conduct[,]” Defendant in this case has shown no inconsistences. See Nasti v. CIBA Specialty Chems.

Corp., 492 F.3d 589, 594 (5th Cir. 2007). From Defendant’s internal investigation of Banda’s

violations, to Banda’s union grievance, to the briefing before this Court, Defendant has consistently

maintained that its reason for firing Banda was the two LTT Policy violations. Lastly, Banda fails to

provide any evidence of race/national origin discrimination, such as derogatory statements made in

conjunction with termination or disciplinary matters or during his 21-years of employment with

Defendant, but instead, Banda relies on his subjective belief that his ethnicity played a role. See Doc.

24, Def.’s App., 133 (Pl.’s Dep. at 79:15–80:14).

        Absent other discriminatory evidence, Banda’s conclusory allegations and subjective belief

are insufficient to show that his race/national origin played any role, much less lay at the heart of,

Defendant’s termination decision to satisfy a finding of pretext. See Roberson v. Alltel Info. Servs., 373

F.3d 647, 654 (5th Cir. 2004) (quoting Ramsey v. Henderson, 286 F.3d 264, 269 (5th Cir. 2002)

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(“This Court has cautioned that conclusory allegations, speculation, and unsubstantiated assertions

are inadequate to satisfy the nonmovant’s burden in a motion for summary judgment.”)). Therefore,

because the Court finds that Banda has failed to demonstrate that Defendant’s legitimate,

nondiscriminatory reason for termination is pretext for discrimination, the Court GRANTS

Defendant’s Motion for Summary Judgment.

B.       Banda Failed to Exhaust his Administrative Remedies and Timely File a Charge with the EEOC
         Regarding his ADA and Retaliation Claims, thus, These Claims are DISMISSED.

         Defendant contends that Banda’s disability and retaliation discrimination claims are

time-barred due to Banda’s failure to properly exhaust administrative remedies. Doc. 23, Def.’s MSJ,

7–9. Specifically, Defendant argues that Banda failed to file or amend his EEOC charge—to include

disability discrimination under the ADA or retaliation under Title VII and the ADA—within 300

days after the alleged violation occurred. Id.

         “Employment discrimination plaintiffs must exhaust administrative remedies before pursuing

claims in federal court. Exhaustion occurs when the plaintiff files a timely charge with the EEOC and

receives a statutory notice of right to sue.” Taylor v. Books A Million Inc., 296 F.3d 376, 378–79 (5th

Cir. 2002). “Thus, before a plaintiff may file a civil action under Title VII or the ADA, he must

exhaust administrative remedies, which include filing a charge of discrimination with the EEOC

within 300 days after the alleged violations occurred.” Henson v. Bell Helicopter Textron, Inc., 128 F.

App’x 387, 390 (5th Cir. 2005) (citing 42 U.S.C. § 2000e–5(b), (e), (f); 42 U.S.C. § 12117)). “[A]

filing is deemed a charge if the document reasonably can be construed to request agency action and

appropriate relief on the employee’s behalf.” Fed. Exp. Corp. v. Holowecki, 552 U.S. 389, 404 (2008).

         Here, Banda was terminated on May 21, 2015, and no other discriminatory acts are alleged



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to have occurred after that date. Thus, the 300-day window for Banda to file his charge with the

EEOC based on his termination began on May 21, 2015, and expired on March 16, 2016. Plaintiff

timely filed his Original Charge with the EEOC on July 23, 2015, but only alleged national origin

discrimination. Doc. 24, Def.’s App., 59. Plaintiff then filed an Amended Charge with the EEOC on

August 3, 2016,5 adding claims for race discrimination under Title VII, disability discrimination

under the ADA, and retaliation under Title VII and the ADA. Id. at 50.

        Defendant argues that because Banda filed his Amended Charge “over four months after the

limitations period expired . . . he did not properly exhaust his administrative remedies as to his

disability discrimination and retaliation claims.” Doc. 23, Def.’s MSJ, 8.

        In arguing that his disability and retaliation claims are not time-barred, Banda appears to

make two separate arguments: (1) his Original Charge and Intake Questionnaire, read together,

timely raised these claims; and (2) his Amended Charge relates to the same event as the Original

Charge so it relates back to the filing date of the Original Charge, and thus is timely. Doc. 33-1, Pl.’s

Resp. to MSJ, 21–22. The Court addresses each argument in turn, but ultimately agrees with

Defendant and finds that these claims are time-barred.

        First, Plaintiff cites to the Supreme Court’s holding in Federal Express Corp. v. Holowecki, for

the proposition that “in some circumstances ‘a wide range of documents might be classified as

charges,’ including Intake Questionnaires.” Id. at 21 (quoting 552 U.S. at 402). In that case, the




        5
         The Court notes that the Amended EEOC charge was signed on July 28, 2016, but was not received
by the EEOC until August 3, 2016. See Doc. 24, Def.’s App., 50. Regardless of which date is used, Banda’s
Amend Charge is untimely under the 300-day time limit; however, the Court uses the August 3, 2016 date
because that is when Banda says the amendment was filed. See Doc. 33-1, Pl.’s Resp. to MSJ, 21.

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Supreme Court determined that in the Age Discrimination in Employment Act (ADEA) context,6

various documents—including an intake questionnaire—can constitute a “charge” “if the document

reasonably can be construed to request agency action and appropriate relief on the employee’s

behalf.” Federal Exp. Corp., 552 U.S. at 404.

        Although not explicitly argued or highlighted by either party, the Court notes that in Banda’s

July 2015 EEOC Intake Questionnaire, he lists—in the section to be filled “only if you are claiming

discrimination based on disability”—that he has a disability, namely diabetes. Doc. 24, Def.’s App.,

85. But, in response to another question, which asked: “What is the reason (basis) for your claim of

employment discrimination?”, Banda only checked the box for race discrimination. Id. at 84. Besides

disclosing that he had a disability, the remainder of Banda’s Questionnaire discloses information

regarding a race or national origin discrimination claim. For example, in the Questionnaire, Banda

supports his contention that he was discriminated against by listing other employees by race who also

worked for Defendant, had engaged in similar work behavior, and received lesser or worse

punishments. Id. at 84–85 (Questions 6 and 8).

        As a whole, Banda’s response in the Intake Questionnaire mentioning that he has a disability

is insufficient to “be construed to request agency action and appropriate relief” regarding Banda’s

disability discrimination or retaliation claims. See Federal Exp. Corp., 552 U.S. at 404). Although

the Court does not consider dispositive the fact that Banda only checked the box for race



        6
          In handing down this ruling however the Supreme Court cautioned, and this Court echoes, that
“EEOC enforcement mechanisms and statutory waiting periods for ADEA claims differ in some respects from
those pertaining to other statutes the EEOC enforces, such as Title VII of the Civil Rights Act of 1964, . .
. and the Americans with Disabilities Act of 1990 . . . . While there may be areas of common definition,
employees and their counsel must be careful not to apply rules applicable under one statute to a different
statute without careful and critical examination.” Federal Exp. Corp., 552 U.S. at 393.

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discrimination, and did not check the box for retaliation or disability, that fact, coupled with the

paucity of allegations in the Questionnaire and Original Charge do not constitute a timely charge

of disability discrimination or retaliation. See Pacheco v. Mineta, 448 F.3d 783, 792 (5th Cir. 2006)

(“[W]e do not require that a Title-VII plaintiff check a certain box or recite a specific incantation

to exhaust his or her administrative remedies before the proper agency.”); see also Davis v. Wal-Mart

Stores, Inc., 2007 WL 836860, at *11 (N.D. Tex. Mar. 19, 2007) (“The substance of an EEOC

charge, not its form, is the key characteristic for analysis.”). First, the Questionnaire and Original

Charge are void of any reference to retaliation. Second, in the Original Charge, Banda explains that

the reason for Defendant’s adverse action was that “[he] was told that [his] discharge was the result

of a safety violation, although [he was] aware of non-Hispanic, White coworkers who engaged in

similar or more severe conduct and [were] not discharge[d].” Doc. 24, Def.’s App., 59. Lastly, and

most importantly, the statements made in the Intake Questionnaire and the Original Charge fail to

meet the test of putting the EEOC or the employer on notice of the charges being made. See Federal

Exp. Corp., 552 U.S. at 404. The two documents refer only to allegations raising race or national

origin discrimination, and do not include facts or allegations that would put the EEOC or Defendant

on notice of a disability or retaliation claim. See Doc. 24, Def.’s App., 36 (EEOC Recommendation

of Disclosure) (acknowledging that “[Banda] amended his charge to include retaliation and

allegations under the ADA over a year after he filed the initial charge.”).

       Second, with regard to Banda’s argument that his Amended Charge “relates to the same

event so it relates back[,]” Doc. 33-1, Pl.’s Resp. to MSJ, 21, the Fifth Circuit has held that

“[g]enerally, amendments that raise a new legal theory do not ‘relate back’ to an original charge of

discrimination.” Manning v. Chevron Chem. Co. LLC, 332 F.3d 874, 878 (5th Cir. 2003), cert. denied,

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540 U.S. 1107 (2004)(collecting cases). EEOC regulations state that “if the amendments involve acts

that “relate[ ] to or grow[ ] out of the subject matter of the original charge,” the amendments will

‘relate back to the date the charge was first received.’” Id. (quoting 29 C.F.R. § 1626.8(c)). Based

on this EEOC regulation, the Fifth Circuit identified “one very narrow exception” to the general rule

that new legal theories raised in an amendment do not “relate back” to the original charge: “when

the facts supporting both the amendment and the original charge are essentially the same.” Id. at 879

(emphasis added). The reason for this is that “[o]ne of the central purposes of the employment

discrimination charge is to put employers on notice of ‘the existence and nature of the charges

against them.’” Id. at 878 (quoting EEOC v. Shell Oil Co., 466 U.S. 54, 77 (1984)). Thus, the

relevant question in determining whether Banda’s additional claims included in his Amended Charge

“relate back” to the Original Charge is not whether they relate to the same event (the firing), but

“whether the [Banda] already included sufficient facts in his original complaint to put [Defendant]

on notice that [he] might have additional allegations of [disability and retaliation] discrimination.”

Id. at 879.

        Plaintiff contends that in Sanchez v. Standard Brands, Inc., 431 F.2d 455 (5th Cir. 1970), the

Fifth Circuit held that an untimely amended charge that alleged national origin discrimination could

relate back to an original complaint alleging only sex discrimination. Doc. 33-1, Pl.’s Resp. to MSJ,

22. However, as explained by a subsequent Fifth Circuit opinions7 and applicable here, Sanchez is



        7
          Although the Court finds Sanchez distinguishable from this case, the Court notes in addition that
the Fifth Circuit has appeared to limit the applicability of Sanchez and its holding in subsequent opinions,
especially since 2003 when the Court issued its opinion in Manning and identified “one very narrow
exception” to the general rule that new legal theories raised in an amendment do not "relate back" to the
original charge. Manning, 332 F.3d at 878–79; see, e.g., Clayton v. Rumsfeld, 106 F. App’x 268, 272 (5th 2004)
(distinguishing Sanchez).

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distinguishable because “the amended complaint [in Sanchez] related back to the original claim

because the facts alleged in the complaint, and upon which both charges of sex and national origin

discrimination were based, were identical.” See Hornsby, 777 F.2d at 247 (emphasis in original)

(distinguishing Sanchez and holding that plaintiff’s amended charge, which added a charge of sexual

harassment and additional facts, could not relate back to the original charge of age and sex

discrimination). Like Hornsby, this Court’s ruling is consistent with Sanchez because Banda’s

Amended Charge adds additional facts that were not included in the Original Charge.

        Here, the facts and allegations set forth in Banda’s Original Charge and Intake Questionnaire

of race/national origin discrimination are not the same facts and allegations that would support or

give Defendant notice of the claims for disability discrimination and retaliation. See Manning, 332

F.3d at 878–79 (finding that plaintiff’s amended charge of disability discrimination was time-barred

and did not relate back to his original charge of race and gender discrimination because plaintiff did

not check the box for disability discrimination nor did he allege sufficient facts in his original charge

to support a disability discrimination claim); see also Davis, 2007 WL 836860, at *10–11 (finding

summary judgment on plaintiff’s retaliation claim proper where plaintiff’s original charge of gender

discrimination was void of any implicit or explicit reference to retaliation, and included no facts or

allegations to put the EEOC or defendant on notice that retaliation was part of the charge). In

Banda’s Original Charge he states that his “Personal Harm” is that “[o]n or about May 21, 2105,

[he] was informed by Kristi Fox, Safety Leader, that [he] was discharge[d],” and then goes on to

state that “[he] believe[s] [he] was discriminated against on the basis of National Origin, Hispanic.”

Doc. 24, Def.’s App., 59. However, in his Amended Charge, Banda adds additional facts to his

“Personal Harm” statement and says that “[i]n March of 2015, I was diagnosed with Renal Failure.

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I am diabetic and I was also told that I would need a kidney transplant[,]” and goes on to add charges

for disability discrimination and retaliation. Id. at 50. Thus, Banda’s Amended Charge cannot “relate

back” since the facts supporting both the amendment and the original charge are not essentially the

same. See Manning, 332 F.3d at 879; see also Sanchez, 431 F.2d at 462 (“[T]he crucial element of a

charge of discrimination is the factual statement contained therein.”).

        Lastly, the Court acknowledges that “filing a timely charge of discrimination with the EEOC

is not a jurisdictional prerequisite to suit in federal court, but a requirement that, like a statute of

limitations, is subject to waiver, estoppel, and equitable tolling.” Zipes v. Trans World Airlines, Inc.,

455 U.S. 385, 393 (1982); see also Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 113 (2002)

(“Courts may evaluate whether it would be proper to apply such doctrines, although they are to be

applied sparingly.”). “[T]he plaintiff bears the burden of demonstrating a factual basis to justify

tolling of the limitation period.” Hood v. Sears Roebuck & Co., 168 F.3d 231, 232 (5th Cir. 1999).

Here, however, Banda does not seek and the Court does not find any facts in the record that would

justify an equitable tolling or waiver of the statute-of-limitations type requirement set forth by both

Acts.8 See Amburgey v. Corhart Refractories Corp., 936 F.2d 805, 810 n.14 (5th Cir. 1991)(“Equitable

tolling focuses on the plaintiff’s excusable ignorance of the employer’s discriminatory act.”).

Similarly, nothing in the record supports equitably estopping Defendant from asserting that Banda’s

claims are time-barred. See id. (“A defendant is equitably estopped from asserting that a claim is

time-barred where its conduct induced a plaintiff to refrain from exercising its rights.”).



        8
          The Fifth Circuit identified three potential bases for equitable tolling, none of which are supported
by the record here: “(1) the pendency of a suit between the same parties in the wrong forum; (2) the plaintiff’s
lack of awareness of the facts supporting his claim because of the defendant’s intentional concealment of
them; and (3) the EEOC’s misleading the plaintiff about his rights.” See Manning, 332 F.3d at 880.

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        Although the Supreme Court has cautioned district courts that “a technical reading [of the

requirements set forth in Title VII or the ADA] would be particularly inappropriate in a statutory

scheme in which laymen, unassisted by trained lawyers, initiate the process[,]” Zipes, 455 U.S. at 397,

the Supreme Court has also stated that “strict adherence to the procedural requirements specified

by the legislature is the best guarantee of evenhanded administration of the law.” Mohasco Corp. v.

Silver, 447 U.S. 807, 825–26 (1980) (holding that “[b]y choosing what are obviously quite short

deadlines, Congress clearly intended to encourage the prompt processing of all charges of

employment discrimination.”). Therefore, the Court finds that because no facts support applying the

“relation back” or any equitable doctrine to the 300-day time requirement, Banda failed to exhaust

his administrative remedies, thus, Defendant’s Motion for Summary Judgment as to Banda’s disability

discrimination claim under the ADA and retaliation claims under both Acts is GRANTED.

        Alternatively, even assuming that Banda exhausted his administrative remedies with respect

to his disability claim—which he has not—the Court finds that he has failed to create a genuine issue

of material fact that Defendant’s legitimate, nondiscriminatory reason for firing him, see discussion

supra Section IV.A.2., was pretext for disability discrimination.9 First, the Court finds that Banda fails

to satisfy pretext alternative for the same reasons his race/national origin claim fails on

pretext—Defendant’s reason for firing him was not false and Banda has no evidence that his

disability was the reason for his firing besides conclusory allegations and his own subjective belief. See

Doc. 24, Def.’s App., 133 (Pl.’s Dep. at 79:15–80:14); see also discussion supra Section IV.A.3.

        9
          At the pretext stage of the disability discrimination burden-shifting framework, an employee must
either show that the defendant’s reason for termination is pretext for the proffered reason (pretext
alternative), or that defendant’s reason, while true, is not the only reason for the defendant’s conduct and
that another “motivating factor” is the plaintiff’s disability. E.E.O.C. v. LHC Group, Inc., 773 F.3d 688, 702
(5th Cir. 2014).

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Second, although couched in the language of his prima facie case, Banda in essence also argues that

his disability was a motivating factor for his termination. Banda argues that Defendant is a self-

insured employer; he was diagnosed in March 2015 with renal failure and was told that he needed

a kidney transplant that was to occur in December 2015; Defendant’s nurse at the Plant was aware

of this information in April 2015; and thus, his disability and need for a presumably expensive

procedure and lengthy leave of absence was a motivating factor in Defendant’s decision to fire him.

Doc. 33-1, Pl.’s Resp. to MSJ, 24–25. However, the Court finds this theory highly speculative, and

more importantly, not supported by the summary-judgement record. See Roberson, 373 F.3d at 654

(quoting Ramsey, 286 F.3d at 269 (“This Court has cautioned that conclusory allegations,

speculation, and unsubstantiated assertions are inadequate to satisfy the nonmovant’s burden in a

motion for summary judgment.”)). Banda fails to show that the nurse told Fox or other individuals

involved in the decision to terminate Banda about his need for a kidney transplant. And, in his

deposition, Banda admits that Defendant on two occasions after his termination, offered him the

opportunity to work for it as a crewman or packing attendant, which he rejected. Doc. 24, Def.’s

App., 133 (Pl.’s Dep. at 80:15–80:25). Thus, absent more evidence it is difficult for the Court to infer

that Defendant was using the safety violations as an excuse to completely terminate Banda and limit

its financial liability as to his medical costs or leave of absence. Because Banda has failed to

demonstrate a genuine issue of material fact regarding pretext, Defendant’s Motion for Summary

Judgment should be granted as to Banda’s disability discrimination claim on this basis as well.




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                                            IV.

                                      CONCLUSION

       For these reasons, the Court DENIES Plaintiff’s Motion to Strike (Doc. 36), GRANTS

Defendant’s Motion for Summary Judgment (Doc. 22), and DISMISSES all of Plaintiff’s claims.



       SO ORDERED.

       SIGNED: December 21, 2018.




                                          _________________________________
                                          JANE J. BOYLE
                                          UNITED STATES DISTRICT JUDGE




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